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                                       IN THE UNITED STATES DISTRICT COURT
                                                FOR THE DISTRICT OF MINNESOTA

                                                ARRAIGNMENT MINUTES
UNITED STATES OF AMERICA,                                               COURT MINUTES - CRIMINAL
                 Plaintiff,                                                BEFORE: DAVID T. SCHULTZ
 v.                                                                            U.S. Magistrate Judge

Justice Anthony Valentino,                                        Case No:         22-cr-234 KMM/TNL
                       Defendant.                                 Date:            September 19, 2022
                                                                  Courthouse:      Minneapolis
                                                                  Courtroom:       9E
                                                                  Time Commenced: 1:52 p.m.
                                                                  Time Concluded: 1:54 p.m.
                                                                  Time in Court:   2 minutes



APPEARANCES:
   Plaintiff: Matthew Ebert, Assistant U.S. Attorney
   Defendant: Manny Atwal
         X FPD

Indictment Dated: September 15, 2022

          X Reading of Indictment Waived             X Not Guilty Plea Entered


Other Remarks:

   X Counsel to be notified of additional dates by separate Order to be issued.

                                                                                                             s/JAM
                                                                                      Signature of Courtroom Deputy




M:\templates\Arraignment Minutes.wpt                                                                    Template Updated 06/2013
